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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF IOWA
                                  CENTRAL DIVISION

JOHN DOE                                     |
                                             |
       Plaintiff,                            |
                                             | NO. 4:17-cv-00079-RP-SBJ
       v.                                    |
                                             |
GRINNELL COLLEGE, SARAH                      |
MOSCHENROSS, ANGELA VOOS,                    | APPEARANCE OF
BAILEY ASBERRY,                              | AMY K. DAVIS
                                             |
                       Defendants.           |


       COMES NOW the undersigned, Amy K. Davis, and hereby enters her Appearance on

behalf of the Plaintiff, John Doe.


                                      Respectfully submitted,

                                      /s/ Amy K. Davis
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Original filed via EM/ECF
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on November 27, 2018 I electronically filed the foregoing document
with the Clerk of the Court using the ECF system which will send notification of such filing to the
following:


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